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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                               MONROE DIVISION

   STATE OF MISSOURI, STATE OF
   LOUISIANA, et al.,

                   Plaintiffs,

      v.                                              Case No. 3:22-cv-01213-TAD

   JOSEPH R. BIDEN, JR., in his official
   capacity as President of the United States,
   et al.,

                   Defendants.


             SECOND SUPPLEMENTAL DECLARATION OF JILL HINES

       1.     My name is Jill Hines. I am over the age of 18 years and competent to testify to

the matters expressed herein.

       2.     I have previously submitted two Declarations in this case, filed with the Court as

Doc. 10-12 (45-12) and Doc. 227-9. Those prior Declarations are incorporated by reference herein.

       3.     My previous two Declarations detailed some examples of injury I have experienced

due to censorship of speech, both from censorship of my own speech and of speech of others with

which I would otherwise have been able to engage. They even detail self-censorship I have felt

compelled to do to avoid further harm.

       4.     As described in my previous Declarations, my advocacy work through Health

Freedom Louisiana and Reopen Louisiana includes work to educate and inform the public of their

rights regarding certain state and federal laws, and work to coordinate rallies, protests, and

testimonies at legislative hearings to seek legislative change for the people of Louisiana. The




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platform of social media has been essential to complete this work and to effectively communicate

with our state representatives.

          5.   The harms I experience due to censorship of speech on social media are ongoing.

          6.   Leading up to the Louisiana legislative session in April 2023, I received a series of

troubling penalties on Facebook that caused my personal page and public pages, Health Freedom

Louisiana and Reopen Louisiana, to be restricted.

          7.   The penalties included downgrading the visibility of my posts in Facebook’s News

Feed (thereby limiting its reach to other users), downgrading the visibility of my posts in my

Facebook Groups, and an approximately 24-hour moratorium on my ability to create Facebook

Events.

          8.   On February 8, 2023, my Health Freedom Louisiana page received a violation for

simply sharing a Tweet from attorney Aaron Siri regarding the amount of money vaccine

manufacturers grossed while setting no money aside for Covid vaccine injury victims. No one

else was permitted to view or engage with the post.




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       9.     On March 28, 2023, the page received another violation for sharing a Tweet

regarding the amount of money that had been paid out of the U.S. Countermeasures Injury

Compensation Program (CICP). No one else was permitted to view or engage with the post.




       10.    On April 3, 2023, the page received another violation for sharing a Fox News Tweet

regarding the World Health Organization’s latest Covid vaccine recommendations for children.

       11.    On April 18, 2023, a post on Health Freedom Louisiana’s Facebook page linking

to a piece entitled “Some Americans Shouldn’t Get Another COVID-19 Vaccine Shot, FDA Says,”

and commenting on how children factor into the business model of the pharmaceutical industry

was issued a violation. No one else was permitted to view or engage with the post.




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       12.     On April 26, 2023, one of my posts with a screenshot of a Daily Mail headline

about the dangers of masks had a “missing context” banner placed on it, and my page received a

warning. As a result, I removed the post from other pages I had shared it to.




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       13.     On April 28, 2023, I received a warning for a screenshot of a Robert F. Kennedy,

Jr. Tweet, and I removed the post because of the warning. I further removed the post from other

pages that I had shared it to in an effort to avoid any more violations. No one else was permitted

to view or engage with the post.




       14.     All of these examples pertain to speech of public interest. This censorship of my

speech interrupts my ability, and the ability of Health Freedom Louisiana, to reach the public

during the Louisiana legislative session on issues of public concern. It is truly demoralizing, and

it suppresses speech and engagement in the political process.




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       15.     This ongoing harm I experience is one reason this case is “of great interest to me”

(Hines Suppl. Decl., ¶9). The injuries I have experienced are imminent and ongoing. The injuries

stem from the category of speech disfavored by and targeted by Defendants in this case. Consider,

as a prime example, the evidence showing the Surgeon General’s office collaborating with the

Virality Project to target “health freedom” groups, such as my group Health Freedom Louisiana.

I anticipate an order putting a halt to the Federal Defendants’ contribution to the censorship

enterprise of social media speech would, accordingly, bring me immediate and noticeable relief.



I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.




 Executed On: May 17, 2023                          /s/ Jill Hines

                                                    Jill Hines




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